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IN THE UNlTEI) STATES DlsTRICT coURT

FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUH -3 PH I2¢ 92
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CLEF?.':§, U.i`.w`. D$ST. CT.

UNITED STATES OF AMERICA, ) W.D. OF “I“N, MEMPHlS
Plaintiff, §

v. § NO. 01-20169 Ma

MARLAN MITCHELL, §
Defendant. §

 

ORDER APPOINTING COUNSEL

 

Before the Court is United States District Judge Sarnuel H. Mays’s request that the
l\/lagistrate Judge appoint counsel for Defendant Marlan Mitchell.

On August 23, 2002 a jury announced a verdict of guilty against Mr. Mitchell, and on
December 27, 2002, Judge Mays sentenced Mr. Mitchell to confinement for 288 months. Mr.
Mitchell appealed his sentencing to the United States Court of Appeals for the Sixth Circuit, and
on July 20, 2004, the Sixth Circuit affirmed the jury’s guilty verdict, vacated Judge Mays’
sentencing, and remanded the case to the district court for re-sentencing. Mr. Mitchell’s counsel
of record, Mr. Robert C. Brooks, then filed a Motion to Withdraw requesting he be permitted to
withdraw as counsel for Defendant because of prior obligations and because his practice is
limited to direct appeals Judge Mays granted the Motion to Withdraw and instructed the
Magistrate Judge to appoint new counsel for Mr. Mitchell.

The Court finds that Defendant is entitled to new counsel to assist him during his re-

sentencing hearing, which Judge Mays has set for lime 30, 2005. Therefore, the Clerk is directed

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with Rule 55 and/or 32(b) FF\CrP on / b ' 0
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to appoint an attomey from the CJA Panel to act as counsel of record for Mr. Mitchell. The

Clerk shall also forward a copy of this Order to Mr. Mitchell’s last known address with the

Bureau of Prisons.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGlSTRATE JUDGE

Date'. Q(/A¢( 02.~ ‘20¢(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 158 in
case 2:0]-CR-20169 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listedl

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

